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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                Case No.

      ANTONIO GOMEZ, a Florida resident,
      RICARDO ALEJANDRO GARCIA, a
      Florida resident, individually, and on behalf
      of others similarly-situated,
                                                       CLASS ACTION
                          Plaintiffs,
            v.

      FANDUEL, INC., a Delaware corporation
      and DRAFTKINGS, INC., a Delaware
      corporation, SAAHIL SUD, a Massachusetts
      resident, DREW DINKMEYER, a Florida
      resident,     ETHAN       HASKELL,     a
      Massachusetts     resident,  MATTHEW
      BOCCIO, a New York resident,

                          Defendants.


                         COMPLAINT AND DEMAND FOR JURY TRIAL

            Plaintiffs, Antonio Gomez and Ricardo Alejandro Garcia, individually (collectively

  “Class Representatives”), and on behalf of others similarly situated (“Class Members”), bring

  this nationwide 1 class action and subclass for Florida residents against above-captioned

  Defendants for claims of negligence, breach of contract, declaratory and supplementary relief,

  injunctive relief, Civil RICO, and civil conspiracy for damages.

                              JURISDICTION, PARTIES AND VENUE

                                                Plaintiffs




  1
      Except for residents of the states of Arizona, Iowa, Louisiana, Montana, and Washington.
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         1.      At all times relevant hereto, Plaintiff, Antonio Gomez, was a resident of Miami,

  Miami-Dade County, Florida, and placed wagers with FanDuel via FanDuel’s website, which

  included Terms of Use. (See Exhibit “A”).

          2.     At all times relevant hereto, Plaintiff, Ricardo Alejandro Garcia, was a resident of

     Miami, Miami-Dade County, Florida, and placed wagers with Defendant DraftKings, Inc.

     (“DraftKings”) via DraftKings’ website, which included Terms of Use. (See Exhibit “B”).

                                             Defendants

         3.      At all times relevant hereto, Defendant FanDuel was and is a corporation

  organized and existing under the laws of the State of Delaware, with a principal place of business

  located in New York City, New York.

         4.      Defendant FanDuel offers its service through its internet site throughout the

  nation, internationally, including the State of Florida. FanDuel, directly and through its agents,

  engages in substantial, continuous, systematic, and non-isolated business activity within the state

  of Florida. It is subject to personal jurisdiction in the state of Florida because it regularly

  conducts business in the state of Florida and committed the unlawful acts alleged herein

  nationwide and in the state of Florida.

         5.      Defendant FanDuel is a fantasy sports website that permits individuals to play

  fantasy sports games. To begin playing on FanDuel, an individual is required to place a deposit

  and create a FanDuel account. That person can then use the money on deposit to pay entry fees

  to partake in daily fantasy sports games. At the end of the sports day, the winner of each fantasy

  contest is then awarded prize money which is inserted into their FanDuel account.




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           6.    At all times relevant hereto, Defendant DraftKings was and is a corporation

  organized and existing under the laws of the State of Delaware, with a principal place of business

  located in Boston, Massachusetts.

           7.    Defendant DraftKings offers its service through its internet site throughout the

  nation, internationally, including the State of Florida. DraftKings, directly and through its

  agents, engages in substantial, continuous, systematic, and non-isolated business activity within

  the state of Florida. It is subject to personal jurisdiction in the state of Florida because it

  regularly conducts business in the state of Florida and committed the unlawful acts alleged

  herein nationwide and in the state of Florida.

           8.     Defendant DraftKings is a fantasy sports website that permits individuals to play

  fantasy sports games. To begin playing on DraftKings, an individual is required to place a

  deposit and create a DraftKings account. That person can then use the money on deposit to pay

  entry fees to partake in daily fantasy sports games. At the end of the sports day, the winner of

  each fantasy contest is then awarded prize money which is inserted into their DraftKings

  account.

           9.    At all times relevant hereto, Defendant Saahil Sud was and is a Massachusetts

  resident, residing at 120 Kingston Street, Penthouse 2402, Boston, Massachusetts.

           10.   Upon information and belief, Mr. Sud is an Apex predator or Shark bettor in

  Defendants FanDuel and DraftKings’ fantasy sports games, as described herein.

           11.   At all times relevant hereto, Defendant Drew Dinkmeyer was and is a Florida

  resident, residing at 709 SE 6th Court, Fort Lauderdale, 709 SE 6th Court, Fort Lauderdale,

  33301.




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         12.     Upon information and belief, Mr. Dinkmeyer is an Apex predator or Shark bettor

  in Defendants FanDuel and DraftKings’ fantasy sports games, as described herein.

         13.     At all times relevant hereto, Defendant Ethan Haskell was and is a Massachusetts

  resident residing at 709 SE 6th Court, Ft. Lauderdale, FL 33301. Upon information and belief,

  Mr. Haskell is an employee of DraftKings that used insider information to wager on fantasy

  sports on Defendants DraftKings and FanDuel’s websites.

         14.     At all times relevant hereto, Defendant Matthew Boccio was and is a New York

  resident residing at 24 Kenworth Road, Port Washington, New York. Upon information and

  belief, Mr. Boccio is an employee of FanDuel that used insider information to wager on fantasy

  sports on Defendants DraftKings and FanDuel’s websites.

         15.     At all times relevant hereto, Defendants, FanDuel and DraftKings, acted by and

  through their employees, agents, and representatives who were all working within the scope of

  their employment, agency, and representative capacity with Defendants and working in

  furtherance of Defendants’ interests.

         16.     All conditions precedent to the bringing of this action have occurred, have been

  waived or have been otherwise satisfied.

         17.     The amount in controversy exceeds $5,000,000.00, exclusive of interest and costs.

         18.     The putative classes consist of a thousand or more people.

         19.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1332(d).

         20.     Venue is proper within this District because a substantial part of the events giving

  rise to the claims occurred and continue to occur in this District.




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                                  Background of Fantasy Sports

          21.    To begin playing on DraftKings or FanDuel, an individual is required to place a

  deposit and create an account. That deposit can then be used to pay entry fees to partake in daily

  fantasy sports games. At the end of the sports day, the winner of each fantasy contest is then

  awarded prize money which is inserted into their DraftKings account.

          22.    To create an account with DraftKings or FanDuel, a user must agree to Terms and

  Conditions in a multi-page internet User Agreement (“User Agreement”). The User Agreement

  is unconscionable, contrary to public policy, unmanageable and is intended to hide material

  terms such as arbitration, venue, application of foreign law and as such, its terms are

  unenforceable against Plaintiffs and Class Members.

          23.    Congress has deemed fantasy sports a game of skill, not of chance. See 31 U.S.C.

  §§ 5361-5367. Defendants have attempted to take advantage of 31 U.S.C. §§ 5361-5367 to

  legitimize fantasy sports.

          24.    Daily fantasy sports have recently grown into an industry projected to receive

  approximately $31 billion in player entry fees by the year 2020.

          25.    In the first week of the 2015 NFL season alone, FanDuel and DraftKings were

  expected to receive a combined $60 million in entry fees.

          26.    The competitions vary by sport and format, but the most popular forum is daily or

  weekly fantasy football. In a typical competition, customers “buy-in”—anywhere from $1 to

  thousands of dollars—against other participants with hopes that they will field the best fantasy

  football “team.” The basic format for fantasy sports is best typified by a typical bet on a NFL

  game.

          27.    The user pays an entry fee that varies in amount.



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         28.     One example of a game that users may play provides a user a budget to spend on

  players that are competing in games that week in the NFL. The budget is an artificial number,

  $60,000 for example. NFL players are assigned a salary by Defendants DraftKings or FanDuel.

  Users, bound by a fictitious salary cap, select a roster of players they believe will perform well in

  terms of individual statistics. The user selects their team by player positions based on the salaries

  assigned by DraftKings or FanDuel, not to exceed the salary cap and budget.

         29.      At a time certain before the NFL games begin, no further entries are allowed and

  a user sets their roster. The NFL players each earn points for the user based upon their

  performance in the games. The user with the highest total of points in relation to other users in

  that game wins.

         30.     Defendants generate their revenue by hosting competitions among individual

  users and, for their services, take a “rake” of the earnings.

         31.     Though the rake varies by game type and amount, it normally hovers around 10

  percent. In a typical competition wherein 10 players bet $10 each in a winner-takes-all format,

  the champion will walk away with $90 of the $100, with Defendants, FanDuel and DraftKings,

  taking its 10 percent rake of $10.

         32.     The amount of the prize in a fantasy sports game is set in advance of the game

  even though the number of users who will enter the game is unknown. An “overlay” occurs

  when the amount of the prize exceeds the amount of money received by DraftKings or FanDuel

  from the buy-ins, or entry fees, for that game, DraftKings and FanDuel have intentionally

  allowed Apex predators to flood their games, because the money received from increased entries,

  or buy-ins, paid by Apex predators provides coverage to DraftKings and FanDuel for the




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  overlay. This creates a situation whereby Apex predators gain a significant statistical advantage

  over bona-fide users.

         33.     To lure customers, Defendants, FanDuel and DraftKings websites saturate

  television, particularly commercials airing during sporting events, with seductive advertising. In

  2014, DraftKings alone had 1,782 separate television ads. One advertisement for Defendant

  DraftKings stated “DraftKings combines one-day fantasy sports with winning life-changing

  amounts of cash.” Another tells the story of DraftKings customer Derek Bradley, a former

  accountant. “DraftKings one-day fantasy baseball took him from a guy with holes in his

  underpants,” the announcer states, “to a guy with bikini models in them!” The commercial

  promises that if one signs up for DraftKings, the site will “double [his or her] deposit.”

         34.     DraftKings alone spent approximately $23.6 million on television advertisements

  in September 2015.

         35.     Internet advertisements, on FanDuel and DraftKings’ websites and elsewhere,

  likewise funnel significant business to their online betting interface.

       DEFENDANTS’ DRAFTKINGS AND FANDUEL’S UNFAIR AND DECEPTIVE
                          BUSINESS PRACTICES

      DraftKings and FanDuel Allow “Apex Predator” or “Shark” Bettors to Take Unfair
                 Advantage of the Class Representatives and Class Members

         36.     Defendants DraftKings and FanDuel enticed the Class Representatives and Class

  Members to their respective websites via advertisements promising fantastic returns and

  winnings on fantasy sports games.

         37.     While any player may get lucky on the back of a handful of entries into

  Defendants DraftKings’ and FanDuel’s games, over time nearly all of the prize money flows to a




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  tiny elite equipped with elaborate statistical modeling and automated tools that can manage

  hundreds of entries at once and identify the weakest opponents.

         38.     These elite players are known in the fantasy sports gaming industry as “Apex

  predator” bettors or “Shark” bettors.

         39.     Apex predator and Shark bettors use elaborate computer programs and algorithms

  called “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other methods to gain an

  unfair advantage over unsuspecting Class Representatives and Class Members.

         40.     FanDuel allows, at its discretion, the use of “robots,” “spiders,” “scrapers,” or

  “sniping software” as long as a user obtains “express written permission.” Ex. A. Nonetheless,

  FanDuel does not disclose to other users such as the Class Representatives and Class Members if

  an Apex predator or Shark bettor has used “robots,” “spiders,” “scrapers,” or “sniping software”

  that gives the Apex predator or Shark bettor an unfair advantage over the Class Representatives

  and Class Members.

         41.     DraftKings acknowledges that it may permit the use of scripts on its website and

  to contact DraftKings if a user wants to use a script. Ex. B. But DraftKings did not disclose to

  Plaintiff and Class Members that an Apex predator or Shark bettor is using a script that gives the

  Apex predator or Shark bettor an unfair advantage.

         42.     Defendants DraftKings and FanDuel have failed to disclose to Class

  Representatives and Class Members that Apex predator and Shark bettors have an unfair

  advantage by obtaining better information from DraftKings and FanDuel – a situation that is

  tantamount to insider trading because the information was not provided to Class Representatives

  and Class Members.




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     Draft Kings and FanDuel Allow Their Employees to Make Bets with Access to Inside
      Information without Disclosure to the Class Representatives and Class Members


         43.    Until October 6, 2015, Defendant DraftKings allowed its own employees to make

  bets on its own website and on FanDuel’s website.

         44.    Until October 6, 2015, Defendant FanDuel allowed its own employees to make

  bets on its own website and DraftKings’ website.

         45.    On October 6, 2015, the New York’s Attorney General opened an inquiry as to

  each of the Defendants. Exhs. C-D, correspondence dated Oct. 6, 2015 from State of New York’s

  Office of Attorney General to Defendants FanDuel and DraftKings, respectively, attached hereto.

         46.    The New York Attorney General’s inquiry was opened to investigate “legal

  questions relating to the fairness, transparency and security of [FanDuel and DraftKings] and the

  reliability of representations … [the companies have] made to customers.” Id.

         47.    The New York Attorney General’s inquiry arose due to reports that DraftKings’

  employee Ethan Haskell “inadvertently” released data regarding the lineups created by

  DraftKings users the third week of the NFL season in late September. That same weekend, Mr.

  Ethan Haskell, a midlevel content manager for DraftKings won $350,000.00 at FanDuel.

         48.    When the information regarding Mr. Haskell’s release of information and

  winnings became public it was only then that Defendants DraftKings and FanDuel prohibited

  their employees from betting on their own and each other’s websites.

         49.    Defendants DraftKings and FanDuel acted in concert and released a joint press

  statement after Mr. Haskell’s story became public. Ex. E.

         50.    Defendants DraftKings and FanDuel failed to inform or disclose to Class

  Representatives and Class Members that employees of the respective Defendants are privy to



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  crucial statistical information, including lineup data, insider information, that the Class

  Representatives and Class Members do not have access to.

         51.      According to industry experts, the value of knowing beforehand which players

  will be used the most in the sports provides that user with knowledge that is an unfair advantage.

         52.      Because of the massive number of entries with DraftKings and FanDuel’s fantasy

  sports games, it is difficult to win a contest with a lot of players that are commonly owned.

  Rostering some players with low ownership percentages and a high upside is a strategy that

  many players employ. If given information before a fantasy sports game starts on DraftKings or

  FanDuel as to what players are being used most in a particular game, that information is unfairly

  advantageous to the person receiving the information and constitutes an unfair advantage

  especially to an unknowing Class Representative and Class Member.

         53.      The information that Defendants DraftKings and FanDuel’s employees have is

  unfairly advantageous to those DraftKings and FanDuel employees that bet on their own

  websites and each other’s websites.

    Defendant FanDuel and DraftKings’ User Agreements Are Unconscionable, Illusory and
              Unenforceable Against Class Representatives and Class Members

         54.      The multi-page internet user agreement is procedurally and substantively

  unconscionable, contrary to public policy, unmanageable and is intended to hide material terms

  such as arbitration, venue, application of foreign law and as such, its terms are unenforceable

  against Plaintiffs and Class Members.

         55.      Plaintiff and the class were induced into placing wagers in what was supposed to

  be a fair game of skill without the potential for insiders to use non-public information to compete

  against them.




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                                CLASS ACTION ALLEGATIONS

                                 Plaintiffs’ Classes and Subclasses

         56.     Under Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure,

  Plaintiffs bring this action on behalf of themselves and two Classes initially defined as follows:

                 “FanDuel Class”: All individuals and entities who entered into a
                 User Agreement with FanDuel and made a wager in a fantasy
                 sports game from February 1, 2012 through October 6, 2015.

                 “DraftKings Class”: All individuals and entities who entered into
                 a User Agreement with DraftKings and made a wager in a fantasy
                 sports game from February 1, 2012 through October 6, 2015.

                 “Florida FanDuel Subclass”: All individuals and entities who were
                 Florida residents and entered into a User Agreement with FanDuel
                 and made a wager in a fantasy sports game from February 1, 2012
                 through October 6, 2015.

                 “Florida DraftKings Subclass”: All individuals and entities who
                 entered into a User Agreement with DraftKings and made a wager
                 in a fantasy sports game from February 1, 2012 through October 6,
                 2015.

                 “The Saahil Sud Class”: All individuals and entities who entered
                 into a User Agreement with DraftKings or FanDuel that were in
                 the top 1.5% of winners on DraftKings and/or FanDuel at any
                 point in time from February 1, 2012 through October 6, 2015 and
                 used “scripts,” “robots,” “spiders,” “scrapers,” “sniping software”
                 or other methods to gain an unfair advantage over Plaintiffs and
                 Class Members which was undisclosed to other users by
                 DraftKings or FanDuel.

                 “The Drew Dinkmeyer Defendant Class: All individuals and
                 entities who entered into a User Agreement with DraftKings or
                 FanDuel that were in the top 1.5% of winners on DraftKings
                 and/or FanDuel at any point in time from February 1, 2012 through
                 October 6, 2015, were Florida residents, and used “scripts,”
                 “robots,” “spiders,” “scrapers,” “sniping software” or other
                 methods to gain an unfair advantage over Plaintiffs and Class
                 Members which was undisclosed to other users by DraftKings or
                 FanDuel.

                 “The Matthew Boccio FanDuel Employee Class”: All individuals

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                 and entities who entered into a User Agreement with DraftKings or
                 FanDuel and were employees of FanDuel and made a wager in a
                 FanDuel or DraftKings fantasy sports game utilizing insider
                 information with FanDuel or DraftKings from February 1, 2012
                 through October 6, 2015.

                  “The Ethan Haskell DraftKings’ Employee Class”: All individuals
                 and entities who entered into a User Agreement with DraftKings or
                 FanDuel and were employees of DraftKings and made a wager in a
                 FanDuel or DraftKings fantasy sports game utilizing insider
                 information with FanDuel or DraftKings from February 1, 2012
                 through October 6, 2015.

         57.     Excluded from the Classes are Defendants FanDuel, DraftKings, Mr. Sud, Mr.

  Dinkmeyer, Mr. Boccio, Mr. Haskell, Defendant Class Members and their employees, officers,

  directors, legal representatives, successors and wholly or partly owned subsidiaries or affiliated

  companies; class counsel and their employees. Residents of the states of Arizona, Iowa,

  Louisiana, Montana, and Washington are also excluded.

                                          Ascertainability

         58.     The Classes can be readily identified using Defendants FanDuel and DraftKings

  User Agreements, payment records, payout records and other information kept by Defendants

  FanDuel and DraftKings or third parties in the usual course of business and within their control.



                                             Numerosity

         59.     Defendant FanDuel admits to in excess of 1 million paid active users, the number

  of Class Members is great enough that joinder is impracticable.

         60.     Upon information and belief, Defendant DraftKings has in excess of 1 million

  paid active users, the number of Class Members is great enough that joinder is impracticable.

                                              Typicality




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         61.    Plaintiffs’ claims are typical of the claims of the Class, as Plaintiff and Class

  Members alike were victims of Defendant FanDuel’s common course of conduct, to wit: a)

  FanDuel does not disclose to other users such as Plaintiff and Class Members if a particular user

  uses “robots,” “spiders,” “scrapers,” or “sniping software” that may give those users an unfair

  advantage over Plaintiffs and Class Members; b) FanDuel failed to disclose to Class

  Representatives and Class Members that it created a situation whereby Apex predators and Shark

  bettors have an unfair advantage by obtaining better information from FanDuel that is

  tantamount to insider trading and was not provided to Class Representatives and Class Members;

  and c) FanDuel’s multi-page internet User Agreement is unconscionable, contrary to public

  policy, unmanageable and is intended to hide material terms such as arbitration, venue,

  application of foreign law and as such, its terms are unenforceable against Plaintiffs and Class

  Members.

         62.    Plaintiffs’ claims are typical of the claims of the Class, as Plaintiff and Class

  Members alike were victims of Defendant DraftKings common course of conduct, to wit: a)

  FanDuel does not disclose to other users such as Plaintiff and Class Members if a particular user

  uses “scripts” that may give those users an unfair advantage over Plaintiffs and Class Members;

  b) FanDuel failed to disclose to Class Representatives and Class Members that it created a

  situation whereby Apex predators and Shark bettors have an unfair advantage by obtaining better

  information from DraftKings that is tantamount to insider trading and was not provided to Class

  Representatives and Class Members; and c) DraftKings’ multi-page internet User Agreement is

  unconscionable, contrary to public policy, unmanageable and is intended to hide material terms

  such as arbitration, venue, application of foreign law and as such, its terms are unenforceable

  against Plaintiffs and Class Members.



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                                    Adequacy of Representation

         63.     Plaintiffs will fairly and adequately protect the Classes' interests and have retained

  counsel competent and experienced in class-action litigation. Plaintiffs’ interests are coincident

  with, and not antagonistic to, absent Class Members' interests because by proving their

  individual claims they will necessarily prove the liability of all Defendants to the Plaintiff

  Classes. Plaintiffs are also cognizant of, and determined to, faithfully discharge their fiduciary

  duties to the absent Class Members as the Class representatives.

         64.     Plaintiffs’ counsel have substantial experience in prosecuting class actions.

  Plaintiffs and counsel are committed to vigorously prosecuting this action, have the financial

  resources to do so, and do not have any interests adverse to the Classes.

                                 Commonality and Predominance

         65.     There are numerous questions of law and fact the answers to which are common

  to each Class and predominate over questions affecting only individual Members, including the

  following:

                 a)     whether the multi-page internet User Agreements for Defendant
                        FanDuel are unconscionable, contracts of adhesion, contrary to
                        public policy, unmanageable and intended to hide material terms
                        such as arbitration, venue, application of foreign law and as such,
                        its terms are unenforceable against Class Representatives and Class
                        Members;

                 b)     whether FanDuel failed to disclose to Class Representatives and
                        Class Members if a particular user uses “robots,” “spiders,”
                        “scrapers,” or “sniping software” that may give those users an
                        unfair advantage over Class Representatives and Class Members;

                 c)     whether FanDuel failure to disclose to Class Representatives and
                        Class Members if a particular user uses “robots,” “spiders,”
                        “scrapers,” or “sniping software” was negligent;

                 d)     whether FanDuel breached its User Agreement;



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              e)    whether FanDuel failed to disclose to Class Representatives and
                    Class Members that it setup a system whereby Apex predator or
                    Shark bettors have an unfair advantage by obtaining better
                    information from FanDuel that is tantamount to insider trading and
                    was not provided to Class Representatives and Class Members;

              f)    whether FanDuel’s failure to disclose to Class Representatives and
                    Class Members to Class Representatives and Class Members that it
                    setup a system whereby Apex predator or Shark bettors have an
                    unfair advantage by obtaining better information from FanDuel
                    that is tantamount to insider trading and was not provided to Class
                    Representatives and Class Members was negligent;

              g)    whether FanDuel failed to disclose to Class Representatives and
                    Class Members that its employees are privy to crucial statistical
                    information, including lineup data, insider information, and play
                    on FanDuel’s fantasy sports games against FanDuel users;

              h)    whether FanDuel failure to disclose to Class Representatives and
                    Class Members that its employees are privy to crucial statistical
                    information, including lineup data, insider information, and play
                    on FanDuel’s fantasy sports games against FanDuel users was
                    negligent;

              i)    whether the multi-page internet User Agreements for Defendant
                    DraftKings are unconscionable, contracts of adhesion, contrary to
                    public policy, unmanageable and intended to hide material terms
                    such as arbitration, venue, application of foreign law and as such,
                    its terms are unenforceable against Class Representatives and Class
                    Members;

              j)    whether DraftKings failed to disclose to Class Representatives and
                    Class Members the use of scripts on its website that may give those
                    users an unfair advantage over Class Representatives and Class
                    Members;

              k)    whether DraftKings breached its User Agreement;

              l)    whether DraftKings failure to disclose to Class Representatives
                    and Class Members the use of scripts on its website that may give
                    those users an unfair advantage over Class Representatives and
                    Class Members was negligent;

              m)    whether DraftKings failed to disclose to Plaintiff and Class
                    Members that it created a situation whereby Apex predators and
                    Shark bettors have an unfair advantage by obtaining better

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                      information from DraftKings that is tantamount to insider trading
                      and was not provided to Plaintiff and Class Members;

               n)     whether DraftKings failure to disclose to Class Representatives
                      and Class Members that it created a situation whereby Apex
                      predators and Shark bettors have an unfair advantage by obtaining
                      better information from DraftKings that is tantamount to insider
                      trading and was not provided to Class Representatives and Class
                      Members was negligent;

               o)     whether DraftKings failed to disclose to Class Representatives and
                      Class Members that its employees are privy to crucial statistical
                      information, including lineup data, insider information, and play
                      on FanDuel’s fantasy sports games against FanDuel users;

               p)     whether DraftKings failed to disclose to Class Representatives and
                      Class Members that its employees are privy to crucial statistical
                      information, including lineup data, insider information, and play
                      on FanDuel’s fantasy sports games against FanDuel users was
                      negligent;

               q)     whether DraftKings and FanDuel’s conduct was “unfair,”
                      “deceptive” or “unconscionable” under the Florida’s Deceptive
                      and Unfair Trade Practices Act;

               r)     whether DraftKings and FanDuel’s conduct violated civil RICO;

               s)     whether DraftKings and FanDuel’s fantasy sports betting games
                      are games of skill;

               t)     whether DraftKings and FanDuel’s conduct violates the Federal
                      Trade Commission Act;

               u)     whether Class Representatives and Class Members are entitled to
                      injunctive relief; and,

               v)     whether    DraftKings     and   FanDuel’s    conduct      injured
                      Class Representatives and Class Members and, if so, the extent of
                      the damages.

                               Superiority and Manageability

        66.    A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy since joinder of all the individual Class Members is



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  impracticable. Likewise, because the damages suffered by each individual Class Member may

  be relatively small, the expense and burden of individual litigation would make it very difficult

  or impossible for individual Class Members to redress the wrongs done to each of them

  individually, and the burden imposed on the judicial system would be enormous.

         67.     The prosecution of separate actions by the individual Class Members would also

  create a risk of inconsistent or varying adjudications for individual Class Members, which could

  also establish incompatible standards of conduct for the Defendants. The conduct of this action

  as a class action presents far fewer management difficulties, conserves judicial resources and the

  parties’ resources, and protects the rights of each Class Member.

                                         Defendant Classes

         68.     In addition to the Plaintiff Classes, this case also seeks certification of Defendant

  Classes, defined as follows:

                 “The Saahil Sud Class”: All individuals and entities who entered
                 into a User Agreement with DraftKings or FanDuel that were in
                 the top 1.5% of winners on DraftKings and/or FanDuel at any
                 point in time from February 1, 2012 through October 6, 2015 and
                 used “scripts,” “robots,” “spiders,” “scrapers,” “sniping software”
                 or other methods to gain an unfair advantage over Plaintiffs and
                 Class Members which was undisclosed to other users by
                 DraftKings or FanDuel.

                 “The Drew Dinkmeyer Defendant Class: All individuals and
                 entities who entered into a User Agreement with DraftKings or
                 FanDuel that were in the top 1.5% of winners on DraftKings
                 and/or FanDuel at any point in time from February 1, 2012 through
                 October 6, 2015, were Florida residents, and used “scripts,”
                 “robots,” “spiders,” “scrapers,” “sniping software” or other
                 methods to gain an unfair advantage over Plaintiffs and Class
                 Members which was undisclosed to other users by DraftKings or
                 FanDuel.

                 “The Matthew Boccio FanDuel Employee Class”: All individuals
                 and entities who entered into a User Agreement with DraftKings or
                 FanDuel and were employees of FanDuel and made a wager in a

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                FanDuel or DraftKings fantasy sports game utilizing insider
                information with FanDuel or DraftKings from February 1, 2012
                through October 6, 2015.

                 “The Ethan Haskell DraftKings’ Employee Class”: All individuals
                and entities who entered into a User Agreement with DraftKings or
                FanDuel and were employees of DraftKings and made a wager in a
                FanDuel or DraftKings fantasy sports game utilizing insider
                information with FanDuel or DraftKings from February 1, 2012
                through October 6, 2015.

                                            Numerosity

         69.    The proposed Saahil Sud Defendant Class is so numerous that joinder of all

  Members would be impracticable. Upon information and belief, hundreds if not thousands of

  players were in the top 1.5% of winners on FanDuel and DraftKings and used “scripts,”

  “robots,” “spiders,” “scrapers,” “sniping software” or other methods to gain an unfair advantage

  over Plaintiffs and Class Members which was undisclosed to other users by DraftKings or

  FanDuel.

         70.    Upon information and belief, Mr. Sud enters hundreds of daily contests on

  baseball and football at with DraftKings and FanDuel under the name “maxdalury” his

  participation in the contests has affected thousands of Class Members, the number of Class

  Members is great enough that joinder is impracticable.

         71.    Upon information and belief, Mr. Dinkmeyer enters hundreds of daily contests on

  baseball and football at with DraftKings and FanDuel under the name “Dinkpiece” his

  participation in the contests has affected thousands of Class Members, the number of Class

  Members is great enough that joinder is impracticable.

         72.    Upon information and belief, Mr. Dinkmeyer enters hundreds of daily contests on

  baseball and football at with DraftKings and FanDuel and his participation in the contests has




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  affected thousands of Class Members, the number of Class Members is great enough that joinder

  is impracticable.

         73.     The proposed Drew Dinkmeyer Defendant Class is so numerous that joinder of all

  Members would be impracticable. Upon information and belief, hundreds if not thousands of

  players were in the top 1.5% of winners on FanDuel and DraftKings and used “scripts,”

  “robots,” “spiders,” “scrapers,” “sniping software” or other methods to gain an unfair advantage

  over Plaintiffs and Class Members which was undisclosed to other users by DraftKings or

  FanDuel.

         74.     The proposed Matthew Boccio FanDuel Employee Defendant Class is so

  numerous that joinder of all Members would be impracticable. Upon information and belief,

  dozens of FanDuel employees entered into a User Agreement with DraftKings or FanDuel and

  were employees of FanDuel and made a wager in a fantasy sports game with FanDuel or

  DraftKings utilizing insider information from February 1, 2012 through October 6, 2015.

         75.     The proposed Ethan Haskell DraftKings’ Employee Defendant Class is so

  numerous that joinder of all Members would be impracticable. Upon information and belief,

  dozens of DraftKings’ employees entered into a User Agreement with DraftKings or FanDuel

  and were employees of DraftKings and made a wager in a fantasy sports game with FanDuel or

  DraftKings utilizing insider information from February 1, 2012 through October 6, 2015.

                                     Adequacy and Typicality

         76.     Saahil Sud is an adequate and typical class representative for the Defendant Class

  because, upon information and belief, he utilized “scripts,” “robots,” “spiders,” “scrapers,”

  “sniping software” or other methods to gain an unfair advantage over Plaintiffs and Class

  Members which was undisclosed to other users by DraftKings or FanDuel. Mr. Sud will fairly



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  and adequately represent and protect the interests of the Members of the Defendant Class

  because he bears a substantial financial interest in the outcome of this litigation and his interests

  are coincident with, and not antagonistic to, the other Defendant Class Members’ interests.

  Additionally, Mr. Sud, upon information and belief has substantial financial resources and access

  to competent counsel.

         77.     Drew Dinkmeyer is an adequate and typical class representative for the Defendant

  Class because, upon information and belief, he utilized “scripts,” “robots,” “spiders,” “scrapers,”

  “sniping software” or other methods to gain an unfair advantage over Plaintiffs and Class

  Members which was undisclosed to other users by DraftKings or FanDuel. Mr. Dinkmeyer is a

  Florida resident and his acts and omissions took place in the state of Florida. Mr. Dinkmeyer will

  fairly and adequately represent and protect the interests of the Members of the Defendant Class

  because he bears a substantial financial interest in the outcome of this litigation and his interests

  are coincident with, and not antagonistic to, the other Defendant Class Members’ interests.

  Additionally, Mr. Dinkmeyer, upon information and belief, has substantial financial resources

  and access to competent counsel.

         78.     Ethan Haskell is an adequate and typical class representative for the Ethan

  Haskell DraftKings’ Employee Defendant Class because, upon information and belief, he played

  fantasy sports betting games on DraftKings and FanDuel utilizing insider information from

  DraftKings.

         79.     Matthew Boccio is an adequate and typical class representative for the Matthew

  Boccio FanDuel Employee Defendant Class because, upon information and belief, he played

  fantasy sports betting games on DraftKings and FanDuel utilizing insider information from

  FanDuel.



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                                Commonality and Predominance

         80.    The claims against the Defendant Class Members involve questions of law and

  fact common to the Defendant Class Members that predominate over any potential questions

  affecting only individual Members of the Defendant Class, including among other things:

                a)     whether Mr. Sud and other Defendant Class Members used
                       “scripts,” “robots,” “spiders,” “scrapers,” “sniping software” or
                       other methods gave an unfair advantage to Mr. Sud and Defendant
                       Class Members over Plaintiffs and Class Members in DraftKings
                       and FanDuel’s fantasy sports betting games;

                b)     whether Mr. Sud and other Defendant Class Members disclosed to
                       DraftKings or FanDuel that they were using “scripts,” “robots,”
                       “spiders,” “scrapers,” “sniping software” or other methods gave an
                       unfair advantage to Mr. Sud and Defendant Class Members;

                c)     whether DraftKings and FanDuel gave Mr. Sud and other
                       Defendant Class Members permission to use “scripts,” “robots,”
                       “spiders,” “scrapers,” “sniping software” or other methods that
                       gave an unfair advantage over Plaintiffs and Class Members to Mr.
                       Sud and Defendant Class Members;

                d)     whether Mr. Dinkmeyer and other Defendant Class Members used
                       “scripts,” “robots,” “spiders,” “scrapers,” “sniping software” or
                       other methods gave an unfair advantage to Mr. Dinkmeyer and
                       other Defendant Class Members over Plaintiffs and Class Members
                       in DraftKings and FanDuel’s fantasy sports betting games;

                e)     whether Mr. Dinkmeyer and other Defendant Class Members
                       disclosed to DraftKings or FanDuel that they were using “scripts,”
                       “robots,” “spiders,” “scrapers,” “sniping software” or other
                       methods gave an unfair advantage to Mr. Dinkmeyer and
                       Defendant Class Members;

                f)     whether DraftKings and FanDuel gave Mr. Dinkmeyer and other
                       Defendant Class Members permission to use “scripts,” “robots,”
                       “spiders,” “scrapers,” “sniping software” or other methods that
                       gave an unfair advantage over Plaintiffs and Class Members to Mr.
                       Dinkmeyer and Defendant Class Members;

                g)     whether Ethan Haskell and other DraftKings’ employees played
                       fantasy sports betting games on DraftKings and FanDuel utilizing
                       insider information from DraftKings and whether such information

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                        was an unfair advantage over Plaintiff and Class Members;

                 h)     whether Matthew Boccio and other FanDuel employees played
                        fantasy sports betting games on DraftKings and FanDuel utilizing
                        insider information from FanDuel and whether such information
                        was an unfair advantage over Plaintiff and Class Members; and,

                 i)     whether the Defendant Class Members’ conduct injured the
                        Plaintiff Class Members and, if so, the extent of the damages.

         81.     The Defendant Classes share a juridical link in that all Members of the Defendant

  Classes participated in a DraftKings of FanDuel fantasy sports games with an unfair advantage

  that was undisclosed to Plaintiffs and Class Members.

         82.     Certification of the Defendant Class is appropriate pursuant to Federal Rule of

  Civil Procedure 23(b)(2) because the Defendant Classes have acted with respect to the Plaintiffs’

  Class in a manner generally applicable to each Class Member.

         83.     Certification of the Defendant Classes is also appropriate pursuant to Federal Rule

  of Civil Procedure 23(b)(3) because there is a well-defined community of interest in the

  questions of law and fact involved in the action, which affect all Members of the Defendant

  Classes, and questions of law or fact common to the respective Members of the Defendant

  Classes predominate over any potential questions of law or fact affecting only individual

  Members of the Defendant Classes.

                                  Superiority and Manageability

         84.     This predominance makes class litigation superior to any other method available

  for the fair and efficient adjudication of these claims including consistency of adjudications.

  Absent a class action, the Defendant Classes would likely incur significantly greater expenses in

  separately defending themselves in this action, or in numerous individual actions, than they

  would incur in their defense of a Defendants’ class action.



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           85.   A class action involving both Plaintiff Classes and a Defendant Classes is an

  appropriate method for the adjudication of the controversy in that it will permit a large number of

  claims against a large number of defendants to be resolved in a single forum simultaneously,

  efficiently, and without the unnecessary hardship that would result from the prosecution and/or

  redundant defense of numerous individual actions and the duplication of discovery, effort,

  expense, and the burden on the courts that individual actions would create.

           86.   Defendant Classes, whether as to liability as a whole or as to certain common

  issues, provides a superior method to adjudicate this matter by permitting the collaborative

  defense of claims involving common legal issues, outweighing any difficulties that might be

  argued with regard to the management of the class action.

                                              COUNTS

           87.   For ease of reference, the claims that follow are summarized in the table below:

   Count            Asserted By                  Asserted Against                     Claim
      I            Plaintiff Gomez                      FanDuel                    Negligence
     II            Plaintiff Gomez                      FanDuel                Breach of Contract
                                                                            (good faith & fair dealing)
    III            Plaintiff Gomez                      FanDuel              Declaratory & Injunctive
                                                                                      Relief
    IV           Plaintiffs Gomez &         Matthew Boccio FanDuel                 Negligence
                        Garcia              Employee Defendant Class
    V              Plaintiff Garcia               DraftKings                       Negligence
    VI             Plaintiff Garcia               DraftKings                   Breach of Contract
                                                                            (good faith & fair dealing)
                   Plaintiff Garcia                    DraftKings            Declaratory & Injunctive
    VII                                                                               Relief
    VIII         Plaintiffs Gomez &         Ethan Haskell DraftKings’              Negligence
                        Garcia             Employee Defendant Classs
    IX           Plaintiffs Gomez &         DraftKings, FanDuel, Sud                Civil Rico
                        Garcia             Defendant Class, Dinkmeyer
                                            Defendant Class, Matthew
                                           Boccio FanDuel Defendant

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                                                Class and Ethan Haskell
                                               FanDuel Defendant Class
     X            Plaintiffs Gomez &           DraftKings, FanDuel, Sud           Civil Conspiracy
                         Garcia               Defendant Class, Dinkmeyer
                                               Defendant Class, Matthew
                                              Boccio FanDuel Defendant
                                                Class and Ethan Haskell
                                               FanDuel Defendant Class
    XI             Plaintiffs Gomez                     FanDuel                Florida Deceptive and
                 (on behalf of Florida                                         Unfair Trade Practices
                       subclass)                                                        Act
    XII             Plaintiff Garcia                     DraftKings            Florida Deceptive and
                 (on behalf of Florida                                         Unfair Trade Practices
                       subclass)                                                        Act

                                       COUNT I-NEGLIGENCE

                                        Plaintiff Gomez v. FanDuel

          88.     Plaintiff Gomez adopts and restates paragraphs 1, 3-5, 9-59, 61, and 63-67, as if

  fully set forth herein.

          89.     Defendant FanDuel, at all times relevant, had a duty to Plaintiffs and Class

  Members who were participating in its fantasy sports betting games to act reasonably and with

  due care in administering its fantasy sports betting games so as not to allow other users of

  FanDuel an unfair advantage at playing the alleged games of “skill” administered by FanDuel.

  Defendant’s duty includes, but was not limited to the following:

                  (a)       preventing users from utilizing elaborate computer programs and

          algorithms such as “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

          methods to gain an unfair advantage over Plaintiff Class Representatives and Class

          Members;

                  (b)       disclosing to Plaintiff and Class Members that other users were utilizing

          elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

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         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;

                (c)     warning Plaintiff and Class Members that other users were utilizing

         elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;

                (d)     preventing its own employees and DraftKings’ employees from utilizing

         inside information, “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and

         other methods to gain an unfair advantage over Plaintiff Class Representatives and Class

         Members;

                (e)     disclosing to Plaintiff and Class Members that its own employees and

         DraftKings’ employees were utilizing inside information, “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;

                (f)     warning Plaintiff and Class Members that its own employees and

         DraftKings’ employees were utilizing inside information, “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members; and,

                (g)     exercising reasonable care in the administration of fantasy sports betting

         games to prevent users from utilizing inside information and other methods to gain an

         unfair advantage over Plaintiff Class Representatives and Class Members.

         90.    Defendant, at all times relevant, failed in its duty to Plaintiffs and Class Members

  who were participating in its fantasy sports betting games to act reasonably and with due care in



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  administering its fantasy sports betting games so as not to allow other users of FanDuel an unfair

  advantage at playing the alleged games of “skill” administered by FanDuel. Defendant’s

  breaches of its duty includes, but was not limited to the following:

                 (a)     failing to prevent users from utilizing elaborate computer programs and

         algorithms such as “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

         methods to gain an unfair advantage over Plaintiff Class Representatives and Class

         Members;

                 (b)     failing to disclose to Plaintiff and Class Members that other users were

         utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Plaintiff Class Representatives and Class Members;

                 (c)     failing to warn Plaintiff and Class Members that other users were utilizing

         elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;

                 (d)     failing to prevent its own employees and DraftKings’ employees from

         utilizing inside information, “robots,” “spiders,” “scrapers,” “sniping software,” “scripts”

         and other methods to gain an unfair advantage over Plaintiff Class Representatives and

         Class Members;

                 (e)     failing to disclose to Plaintiff and Class Members that its own employees

         and DraftKings’ employees were utilizing inside information, “robots,” “spiders,”

         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Plaintiff Class Representatives and Class Members;



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                (f)     failing to warn Plaintiff and Class Members that its own employees and

         DraftKings’ employees were utilizing inside information, “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members; and,

                (g)     otherwise failing to exercise reasonable care in the administration of

         fantasy sports betting games to prevent users from utilizing inside information and other

         methods to gain an unfair advantage over Plaintiff Class Representatives and Class

         Members.

         91.    Defendant knew or should have known that its wrongful acts and omissions

  would cause serious injury to Plaintiff Class Representatives and Class Members.

         92.    Defendant’s conduct has directly and proximately caused economic damages to

  Plaintiff Class Representatives and Class Members.

         93.    As a direct and proximate cause of Defendant’s acts and omissions, Plaintiff Class

  Representatives and Class Members have incurred economic damages in the form of their user

  fees and wagers they placed on Defendant’s fantasy sports betting games.

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:


                a. certification of the proposed Plaintiffs’ Classes;

                b. appointment of the Plaintiffs as representatives of the Plaintiffs’
                   Classes;

                c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                   Classes;

                d. compensatory damages;

                e. pre and post-judgment interest;

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                  f. an award of taxable costs; and,

                  g. any and all such further relief as this Court deems just and proper.

                                COUNT II-BREACH OF CONTRACT
                            (DUTY OF GOOD FAITH AND FAIR DEALING)

                                       Plaintiff Gomez v. FanDuel

          94.     Plaintiff Gomez adopts and restates paragraphs 1, 3-5, 9-59, 61, and 63-67, as if

  fully set forth herein.

          95.      Defendant made an offer to permit Plaintiff Class Representatives and Class

  Members to use their fantasy sports betting website and participate in betting.

          96.     Plaintiff Class Representatives and Class Members accepted Defendant’s offer.

          97.     As consideration, Plaintiff Class Representatives and Class Members paid a user

  fee.

          98.     Plaintiff Class Representatives have attached the User Agreement contract as

  Exhibit “A”.

          99.     Every contract, including the subject User Agreement has in it an inherent duty of

  good faith and fair dealing.

          100.    Defendant breached its duty of good faith and fair dealing inherent in the User

  Agreement by:

                  (a)       failing to prevent users from utilizing elaborate computer programs and

          algorithms such as “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

          methods to gain an unfair advantage over Plaintiff Class Representatives and Class

          Members;

                  (b)       failing to disclose to Plaintiff and Class Members that other users were

          utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

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         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Plaintiff Class Representatives and Class Members;

                (c)     failing to warn Plaintiff and Class Members that other users were utilizing

         elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;

                (d)     failing to prevent its own employees and DraftKings’ employees from

         utilizing inside information, “robots,” “spiders,” “scrapers,” “sniping software,” “scripts”

         and other methods to gain an unfair advantage over Plaintiff Class Representatives and

         Class Members;

                (e)     failing to disclose to Plaintiff and Class Members that its own employees

         and DraftKings’ employees were utilizing inside information, “robots,” “spiders,”

         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Plaintiff Class Representatives and Class Members;

         101.   As a direct and proximate cause of Defendant’s breach of contract, Plaintiff Class

  Representatives and Class Members have incurred or will incur economic damages.

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:


                a. certification of the proposed Plaintiffs’ Classes;

                b. appointment of the Plaintiffs as representatives of the Plaintiffs’
                   Classes;

                c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                   Classes;

                d. compensatory damages;

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                  e. pre and post-judgment interest;

                  f. an award of taxable costs; and,

                  g. any and all such further relief as this Court deems just and proper.

                     COUNT III-DECLARATORY & INJUNCTIVE RELIEF

                                      Plaintiff Gomez v. FanDuel

          102.    Plaintiff Gomez adopts and restates paragraphs 1, 3-5, 9-59, 61, and 63-67, as if

  fully set forth herein.

          103.    This is a count for injunctive and declaratory relief pursuant to 28 U.S.C. §§

  2201-2202, based upon the Defendant’s conduct in violating the Federal Trade Commission Act,

  15 U.S.C. §§ 41-58, and to declare Defendant’s multi-page internet User Agreement, Ex. B,

  unconscionable, a contract of adhesion, contrary to public policy, unmanageable and intended to

  hide material terms such as arbitration, venue, application of foreign law and as such, its terms

  are unenforceable against Plaintiffs and Class Members.

          104.    Section 28 U.S.C. § 2201 provides in relevant part:

                  In a case of actual controversy within its jurisdiction … any court
                  of the United States, upon the filing of an appropriate pleading,
                  may declare the rights and other legal relations of any interested
                  party seeking such declaration, whether or not further relief is or
                  could be sought. Any such declaration shall have the force and
                  effect of a final judgment or decree and shall be reviewable as
                  such.

          105.    28 U.S.C. § 2202 provides: “Further necessary or proper relief based on a

  declaratory judgment or decree may be granted, after reasonable notice and hearing, against any

  adverse party whose rights have been determined by such judgment.”

          106.    Plaintiff Class Representatives and Class Members are in doubt as to whether

  Defendant violated the Federal Trade Commission Act and as to whether Defendant’s User



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  Agreement is unconscionable, a contract of adhesion, contrary to public policy, unmanageable

  and intended to hide material terms such as arbitration, venue, application of foreign law and as

  such, its terms are unenforceable against Plaintiffs and Class Members.

         107.   An actual case or controversy exists within the meaning of 28 U.S.C. § 2201

  because Defendant engaged in conduct that violated the Federal Trade Commission Act and

  required Plaintiff Class Representatives and Class Members to enter into unconscionable, a

  contract of adhesion, contrary to public policy, unmanageable and intended to hide material

  terms such as arbitration, venue, application of foreign law and as such, its terms are

  unenforceable against Plaintiffs and Class Members. Specifically, Defendant:

                (a)     engaged in “commerce” within the meaning of 15 U.S.C. § 44;

                (b)     is a “corporation” within the meaning of 15 U.S.C. § 44;

                (c)     engaged in unfair methods of competition in or affecting
                        commerce, and unfair or deceptive acts in or affecting commerce
                        in violation of 15 U.S.C. § 45;

                (d)     disseminated or caused to be disseminated false advertisements
                        within the meaning of 15 U.S.C. §§ 52 and 55; and,

                (e)     required Plaintiff and Class Members to enter into an
                        unconscionable User Agreement that was a contract of adhesion,
                        contrary to public policy, unmanageable and intended to hide
                        material terms such as arbitration, venue, application of foreign
                        law and as such, its terms are unenforceable against Plaintiffs and
                        Class Members.

         108.   Specifically, Plaintiffs and the Plaintiff Classes seek a declaratory decree finding

  that Defendant:

                (a)     engaged in “commerce” within the meaning of 15 U.S.C. § 44;

                (b)     is a “corporation” within the meaning of 15 U.S.C. § 44;




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                  (c)    engaged in unfair methods of competition in or affecting
                         commerce, and unfair or deceptive acts in or affecting commerce
                         in violation of 15 U.S.C. § 45; and,

                  (d)    disseminated or caused to be disseminated false advertisements
                         within the meaning of 15 U.S.C. §§ 52 and 55.

          109.    Plaintiff Class Representatives and Class Members also seek a declaratory decree

  finding that Defendant’s User Agreement is unconscionable, a contract of adhesion, contrary to

  public policy, unmanageable and intended to hide material terms such as arbitration, venue,

  application of foreign law and as such, its terms are unenforceable against Plaintiffs and Class

  Members.

          110.    The aforementioned case or controversy is justiciable and actual and concerns an

  important issue that should be resolved.

          111.    As a direct and proximate cause of the Defendant’s acts and omissions, Plaintiff

  Class Representatives and Class Members have suffered actual injuries in the form of economic

  damages.

          112.    Plaintiff Class Representatives and Class Members face a further threatened

  injury, the continued unfair and deceptive acts described herein, which, to date, has not ceased.

          113.    The requested relief would provide a remedy and redress for Plaintiffs and

  Plaintiff Class members’ injuries.

          114.    The issues in this count are ripe for judicial review because there is a genuine

  need to redress Plaintiffs and Plaintiff Class members’ injuries and threatened injuries.

          115.    The existence of another adequate remedy does not preclude a judgment for

  declaratory relief.

          116.    Plaintiff Class Representatives and Class Members are entitled to actual damages.




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          117.      As a result of Defendant’s conduct in this matter, Plaintiff Class Representatives

  were required to retain, and will be required to pay, for the services of undersigned counsel and

  their firms.

          118.      As a direct and proximate cause of Defendant’s acts and omissions, Plaintiff Class

  Representatives and Class Members have incurred liquidated economic damages in the form of

  entry fees and lost wagers, plus interest.

          119.      Pursuant to 28 U.S.C. § 2202 upon prevailing in this declaratory decree, Plaintiff

  Class Representatives and Class Members are entitled to further necessary or proper relief in the

  form of an award to Plaintiffs’ Classes of any monies lost pursuant to the unlawful conduct set

  forth herein, all damages recoverable under applicable law, pre- and post-judgment interest,

  attorneys’ fees and allowable costs.

          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:

                 a) certification of the proposed Plaintiffs’ Classes;

                 b) appointment of the Plaintiffs as representatives of the Plaintiffs’ Classes;

                 c) appointment of the undersigned counsel as counsel for the Plaintiffs’
                    Classes;

                 d) a declaration that Defendant engaged in “commerce” within the meaning
                    of 15 U.S.C. § 44;

                 e) a declaration that Defendant a “corporation” within the meaning of 15
                    U.S.C. § 44;

                 f) a declaration that Defendant engaged in unfair methods of competition in
                    or affecting commerce, and unfair or deceptive acts in or affecting
                    commerce in violation of 15 U.S.C. § 45;

                 g) a declaration that Defendant disseminated or caused to be disseminated
                    false advertisements within the meaning of 15 U.S.C. §§ 52 and 55.



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              h) a declaration that Defendant’s User Agreement is unconscionable, a
                 contract of adhesion, contrary to public policy, unmanageable and
                 intended to hide material terms such as arbitration, venue, application of
                 foreign law and as such, its terms are unenforceable against Plaintiffs and
                 Class Members;

              i) an order enjoining Defendant from engaging any further in the unlawful
                 conduct set forth herein;

              j) an award to Plaintiffs’ Classes of any monies paid pursuant to the
                 unlawful conduct set forth herein, all damages recoverable under
                 applicable law, pre- and post-judgment interest, attorneys’ fees and
                 allowable costs, and other applicable law;

              k) such other relief as this Court deems just and equitable.

                                      COUNT IV-NEGLIGENCE

         Plaintiffs Gomez & Garcia v. Matthew Boccio FanDuel Employee Defendant Class

          120.    Plaintiffs Gomez and Garcia adopt and restate paragraphs 1-5, 14-35, 43-61, 63-

  68, 74, 79-87 as if fully set forth herein.

          121.    Defendant Class Representative Matthew Boccio and the Defendant Class, at all

  times relevant, had a duty to Class Representatives and Class Members who were participating in

  fantasy sports betting games on Defendants FanDuel and Draft Kings’ websites to act reasonably

  and with due care in disclosing that they had an unfair advantage, via insider information and

  other methods at playing the alleged games of “skill” administered Defendants FanDuel and

  Draft Kings. Defendant’s duty includes, but was not limited to the following:

                  (a)     not utilizing elaborate computer programs and algorithms such as

          “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other methods to gain

          an unfair advantage over Class Representatives and Class Members;

                  (b)     disclosing to Class Representatives and Class Members they were utilizing

          elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”



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        “sniping software,” “scripts” and other methods to gain an unfair advantage over Class

        Representatives and Class Members;

               (c)      disclosing to FanDuel and DraftKings that other users were utilizing

        elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Class

        Representatives and Class Members;

               (d)      warning    Class Representatives and Class Members that they were

        utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

        “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

        over Class Representatives and Class Members;

               (e)      not utilizing insider information to gain an unfair advantage over Class

        Representatives and Class Members;

               (f)      disclosing to Class Representatives and Class Members they were utilizing

        insider information to gain an unfair advantage over Class Representatives and Class

        Members;

               (g)      disclosing to FanDuel and DraftKings that they were utilizing insider

        information to gain an unfair advantage over Class Representatives and Class Members

        to gain an unfair advantage over Class Representatives and Class Members;

               (h)      warning Class Representatives and Class Members that they were utilizing

        insider information to gain an unfair advantage over Class Representatives and Class

        Members; and,




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                 (i)     exercising reasonable care in wagering on fantasy sports betting games to

         prevent Class Representatives and Class Members other from being harmed via

         Defendant’s unfair advantage.

         122.    Defendant Class Representative Matthew Boccio and the Defendant Class at all

  times relevant, failed in their duty to Class Representatives and Class Members who were

  participating in fantasy sports betting games on Defendants DraftKings and FanDuel’s websites

  to act reasonably and with due care in disclosing that they had an unfair advantage, via insider

  information and other methods at playing the alleged games of “skill” administered by

  Defendants FanDuel and Draft Kings. Defendant’s breaches of its duty includes, but was not

  limited to the following:

                 (a)     utilizing elaborate computer programs and algorithms such as “robots,”

         “spiders,” “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair

         advantage over Class Representatives and Class Members;

                 (b)     failing to disclose to Class Representatives and Class Members they were

         utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Class Representatives and Class Members;

                 (c)     failing to disclose to FanDuel and DraftKings that other users were

         utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Class Representatives and Class Members;

                 (d)     failing to warn Class Representatives and Class Members that they were

         utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”



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         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Class Representatives and Class Members;

                (e)    utilizing insider information to gain an unfair advantage over Class

         Representatives and Class Members;

                (f)    failing to disclose to Class Representatives and Class Members they were

         utilizing insider information to gain an unfair advantage over Class Representatives and

         Class Members;

                (g)    failing to disclose to FanDuel and DraftKings that they were utilizing

         insider information to gain an unfair advantage over Class Representatives and Class

         Members to gain an unfair advantage over Class Representatives and Class Members;

                (h)    failing to warn Class Representatives and Class Members that they were

         utilizing insider information to gain an unfair advantage over Class Representatives and

         Class Members; and,

                (i)    failing to otherwise exercising reasonable care in wagering on fantasy

         sports betting games to Plaintiff Class Representatives and Class Members other from

         being harmed via Defendant’s unfair advantage.

         123.   Defendant knew or should have known that its wrongful acts and omissions

  would cause serious injury to Class Representatives and Class Members.

         124.   Defendant’s conduct has directly and proximately caused economic damages to

  Class Representatives and Class Members.

         125.   As a direct and proximate cause of Defendant’s acts and omissions, Class

  Representatives and Class Members have incurred economic damages in the form of their user

  fees and wagers they placed on FanDuel and DraftKings’ fantasy sports betting games.



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          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:


                  a. certification of the proposed Plaintiffs’ Class and Defendant Class;

                  b. appointment of the Plaintiffs as representatives of the Plaintiffs’ Class;

                  c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                     Class;

                  d. appointment of Matthew Boccio as the representative of the Defendant
                     Class;

                  e. compensatory damages;

                  f. pre and post-judgment interest;

                  g. an award of taxable costs; and,

                  h. any and all such further relief as this Court deems just and proper.

                                     COUNT V-NEGLIGENCE

                                     Plaintiff Garcia v. DraftKings

          126.    Plaintiff Garcia adopts and restates paragraphs 2, 6-39, 41, 43-58, 60 and 62-67,

  as if fully set forth herein.

          127.    Defendant DraftKings, at all times relevant, had a duty to Plaintiffs and Class

  Members who were participating in its fantasy sports betting games to act reasonably and with

  due care in administering its fantasy sports betting games so as not to allow other users of

  DraftKings an unfair advantage at playing the alleged games of “skill” administered by

  DraftKings. Defendant’s duty includes, but was not limited to the following:

                  (a)      preventing users from utilizing elaborate computer programs and

          algorithms such as “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other




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        methods to gain an unfair advantage over Plaintiff Class Representatives and Class

        Members;

               (b)    disclosing to Plaintiff and Class Members that other users were utilizing

        elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

        Class Representatives and Class Members;

               (c)    warning Plaintiff and Class Members that other users were utilizing

        elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

        Class Representatives and Class Members;

               (d)    preventing its own employees and DraftKings’ employees from utilizing

        inside information, “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and

        other methods to gain an unfair advantage over Plaintiff Class Representatives and Class

        Members;

               (e)    disclosing to Plaintiff and Class Members that its own employees and

        FanDuel’s employees were utilizing inside information, “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

        Class Representatives and Class Members;

               (f)    warning Plaintiff and Class Members that its own employees and

        FanDuel’s employees were utilizing inside information, “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

        Class Representatives and Class Members; and,




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                 (g)    exercising reasonable care in the administration of fantasy sports betting

         games to prevent users from utilizing inside information and other methods to gain an

         unfair advantage over Plaintiff Class Representatives and Class Members.

         128.    Defendant, at all times relevant, failed in its duty to Plaintiffs and Class Members

  who were participating in its fantasy sports betting games to act reasonably and with due care in

  administering its fantasy sports betting games so as not to allow other users of DraftKings an

  unfair advantage at playing the alleged games of “skill” administered by DraftKings.

  Defendant’s breaches of its duty includes, but was not limited to the following:

                 (a)    failing to prevent users from utilizing elaborate computer programs and

         algorithms such as “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

         methods to gain an unfair advantage over Plaintiff Class Representatives and Class

         Members;

                 (b)    failing to disclose to Plaintiff and Class Members that other users were

         utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Plaintiff Class Representatives and Class Members;

                 (c)    failing to warn Plaintiff and Class Members that other users were utilizing

         elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;

                 (d)    failing to prevent its own employees and FanDuel’s employees from

         utilizing inside information, “robots,” “spiders,” “scrapers,” “sniping software,” “scripts”




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         and other methods to gain an unfair advantage over Plaintiff Class Representatives and

         Class Members;

                (e)     failing to disclose to Plaintiff and Class Members that its own employees

         and FanDuel’s employees were utilizing inside information, “robots,” “spiders,”

         “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

         over Plaintiff Class Representatives and Class Members;

                (f)     failing to warn Plaintiff and Class Members that its own employees and

         FanDuel’s employees were utilizing inside information, “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members; and,

                (g)     otherwise failing to exercise reasonable care in the administration of

         fantasy sports betting games to prevent users from utilizing inside information and other

         methods to gain an unfair advantage over Plaintiff Class Representatives and Class

         Members.

         129.   Defendant knew or should have known that its wrongful acts and omissions

  would cause serious injury to Plaintiff Class Representatives and Class Members.

         130.   Defendant’s conduct has directly and proximately caused economic damages to

  Plaintiff Class Representatives and Class Members.

         131.   As a direct and proximate cause of Defendant’s acts and omissions, Plaintiff Class

  Representatives and Class Members have incurred economic damages in the form of their user

  fees and wagers they placed on Defendant’s fantasy sports betting games.

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:



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                  a. certification of the proposed Plaintiffs’ Classes;

                  b. appointment of the Plaintiffs as representatives of the Plaintiffs’
                     Classes;

                  c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                     Classes;

                  d. compensatory damages;

                  e. pre and post-judgment interest;

                  f. an award of taxable costs; and,

                  g. any and all such further relief as this Court deems just and proper.

                             COUNT VI-BREACH OF CONTRACT
                         (DUTY OF GOOD FAITH AND FAIR DEALING)

                                     Plaintiff Garcia v. DraftKings

          132.    Plaintiff Garcia adopts and restate paragraphs 2, 6-39, 41, 43-58, 60 and 62-67, as

  if fully set forth herein.

          133.     Defendant made an offer to permit Plaintiff Class Representative and Class

  Members to use their fantasy sports betting website and participate in betting.

          134.    Plaintiff Class Representative and Class Members accepted Defendant’s offer.

          135.    As consideration, Plaintiff Class Representative and Class Members paid a user

  fee.

          136.    Plaintiff Class Representative has attached the User Agreement contract as

  Exhibit “B”.

          137.    Every contract, including the subject User Agreement has in it an inherent duty of

  good faith and fair dealing.




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        138.      Defendant breached its duty of good faith and fair dealing inherent in the User

  Agreement by:

                  (a)    failing to prevent users from utilizing elaborate computer programs and

        algorithms such as “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

        methods to gain an unfair advantage over Plaintiff Class Representative and Class

        Members;

                  (b)    failing to disclose to Plaintiff and Class Members that other users were

        utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

        “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

        over Plaintiff Class Representative and Class Members;

                  (c)    failing to warn Plaintiff Class Representative and Class Members that

        other users were utilizing elaborate computer programs and algorithms such as “robots,”

        “spiders,” “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair

        advantage over Plaintiff Class Representatives and Class Members;

                  (d)    failing to prevent its own employees and FanDuel’s employees from

        utilizing inside information, “robots,” “spiders,” “scrapers,” “sniping software,” “scripts”

        and other methods to gain an unfair advantage over Plaintiff Class Representatives and

        Class Members; and,

                  (e)    failing to disclose to Plaintiff and Class Members that its own employees

        and FanDuel’s employees were utilizing inside information, “robots,” “spiders,”

        “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

        over Plaintiff Class Representatives and Class Members.




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          139.    As a direct and proximate cause of Defendant’s breach of contract, Plaintiff Class

  Representatives and Class Members have incurred or will incur economic damages.

          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:


                  a. certification of the proposed Plaintiffs’ Classes;

                  b. appointment of the Plaintiffs as representatives of the Plaintiffs’
                     Classes;

                  c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                     Classes;

                  d. compensatory damages;

                  e. pre and post-judgment interest;

                  f. an award of taxable costs; and,

                  g. any and all such further relief as this Court deems just and proper.

                     COUNT VII-DECLARATORY & INJUNCTIVE RELIEF

                                     Plaintiff Gomez v. DraftKings

          140.    Plaintiff Gomez adopts and restate paragraphs 2, 6-39, 41, 43-58, 60 and 62-67, as

  if fully set forth herein.

          141.    This is a count for injunctive and declaratory relief pursuant to 28 U.S.C. §§

  2201-2202, based upon the Defendant’s conduct in violating the Federal Trade Commission Act,

  15 U.S.C. §§ 41-58, and to declare Defendant’s multi-page internet User Agreement, Ex. B,

  unconscionable, a contract of adhesion, contrary to public policy, unmanageable and intended to

  hide material terms such as arbitration, venue, application of foreign law and as such, its terms

  are unenforceable against Plaintiff Class Representative and Class Members.

          142.    Section 28 U.S.C. § 2201 provides in relevant part:

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                In a case of actual controversy within its jurisdiction … any court
                of the United States, upon the filing of an appropriate pleading,
                may declare the rights and other legal relations of any interested
                party seeking such declaration, whether or not further relief is or
                could be sought. Any such declaration shall have the force and
                effect of a final judgment or decree and shall be reviewable as
                such.

         143.   28 U.S.C. § 2202 provides: “Further necessary or proper relief based on a

  declaratory judgment or decree may be granted, after reasonable notice and hearing, against any

  adverse party whose rights have been determined by such judgment.”

         144.   Plaintiff Class Representative and Class Members are in doubt as to whether

  Defendant violated the Federal Trade Commission Act and as to whether Defendant’s User

  Agreement is unconscionable, a contract of adhesion, contrary to public policy, unmanageable

  and intended to hide material terms such as arbitration, venue, application of foreign law and as

  such, its terms are unenforceable against Plaintiff Class Representative and Class Members.

         145.   An actual case or controversy exists within the meaning of 28 U.S.C. § 2201

  because Defendant engaged in conduct that violated the Federal Trade Commission Act and

  required Plaintiff Class Representative and Class Members to enter into unconscionable, a

  contract of adhesion, contrary to public policy, unmanageable and intended to hide material

  terms such as arbitration, venue, application of foreign law and as such, its terms are

  unenforceable against Plaintiff Class Representative and Class Members. Specifically,

  Defendant:

                (a)     engaged in “commerce” within the meaning of 15 U.S.C. § 44;

                (b)     is a “corporation” within the meaning of 15 U.S.C. § 44;

                (c)     engaged in unfair methods of competition in or affecting
                        commerce, and unfair or deceptive acts in or affecting commerce
                        in violation of 15 U.S.C. § 45;



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                 (d)    disseminated or caused to be disseminated false advertisements
                        within the meaning of 15 U.S.C. §§ 52 and 55; and,

                 (e)    required Plaintiff Class Representative and Class Members to enter
                        into an unconscionable User Agreement that was a contract of
                        adhesion, contrary to public policy, unmanageable and intended to
                        hide material terms such as arbitration, venue, application of
                        foreign law and as such, its terms are unenforceable against
                        Plaintiffs and Class Members.

         146.    Specifically, Plaintiffs and the Plaintiff Classes seek a declaratory decree finding

  that Defendant:

                 (a)    engaged in “commerce” within the meaning of 15 U.S.C. § 44;

                 (b)    is a “corporation” within the meaning of 15 U.S.C. § 44;

                 (c)    engaged in unfair methods of competition in or affecting
                        commerce, and unfair or deceptive acts in or affecting commerce
                        in violation of 15 U.S.C. § 45; and,

                 (d)    disseminated or caused to be disseminated false advertisements
                        within the meaning of 15 U.S.C. §§ 52 and 55.

         147.    Plaintiff Class Representative and Class Members also seek a declaratory decree

  finding that Defendant’s User Agreement is unconscionable, a contract of adhesion, contrary to

  public policy, unmanageable and intended to hide material terms such as arbitration, venue,

  application of foreign law and as such, its terms are unenforceable against Plaintiffs and Class

  Members.

         148.    The aforementioned case or controversy is justiciable and actual and concerns an

  important issue that should be resolved.

         149.    As a direct and proximate cause of the Defendant’s acts and omissions, Plaintiff

  Class Representative and Class Members have suffered actual injuries in the form of economic

  damages.




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          150.    Plaintiff Class Representative and Class Members face a further threatened injury,

  the continued unfair and deceptive acts described herein, which, to date, has not ceased.

          151.    The requested relief would provide a remedy and redress for Plaintiff Class

  Representative and Class Members’ injuries.

          152.    The issues in this count are ripe for judicial review because there is a genuine

  need to redress Plaintiff Class Representative and Class Members’ injuries and threatened

  injuries.

          153.    The existence of another adequate remedy does not preclude a judgment for

  declaratory relief.

          154.    Plaintiff Class Representative and Class Members are entitled to actual damages.

          155.    As a result of Defendant’s conduct in this matter, Plaintiff Class Representative

  was required to retain, and will be required to pay, for the services of undersigned counsel and

  their firms.

          156.    As a direct and proximate cause of Defendant’s acts and omissions, Plaintiff Class

  Representative and Class Members have incurred liquidated economic damages in the form of

  entry fees and lost wagers, plus interest.

          157.    Pursuant to 28 U.S.C. § 2202 upon prevailing in this declaratory decree, Plaintiff

  Class Representative and Class Members are entitled to further necessary or proper relief in the

  form of an award to Plaintiffs’ Classes of any monies lost pursuant to the unlawful conduct set

  forth herein, all damages recoverable under applicable law, pre- and post-judgment interest,

  attorneys’ fees and allowable costs.

          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:



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             a) certification of the proposed Plaintiffs’ Classes;

             b) appointment of the Plaintiffs as representatives of the Plaintiffs’ Classes;

             c) appointment of the undersigned counsel as counsel for the Plaintiffs’
                Classes;

             d) a declaration that Defendant engaged in “commerce” within the meaning
                of 15 U.S.C. § 44;

             e) a declaration that Defendant a “corporation” within the meaning of 15
                U.S.C. § 44;

             f) a declaration that Defendant engaged in unfair methods of competition in
                or affecting commerce, and unfair or deceptive acts in or affecting
                commerce in violation of 15 U.S.C. § 45;

             g) a declaration that Defendant disseminated or caused to be disseminated
                false advertisements within the meaning of 15 U.S.C. §§ 52 and 55.

             h) a declaration that Defendant’s User Agreement is unconscionable, a
                contract of adhesion, contrary to public policy, unmanageable and
                intended to hide material terms such as arbitration, venue, application of
                foreign law and as such, its terms are unenforceable against Plaintiffs and
                Class Members;

             i) an order enjoining Defendant from engaging any further in the unlawful
                conduct set forth herein;

             j) an award to Plaintiffs’ Classes of any monies paid pursuant to the
                unlawful conduct set forth herein, all damages recoverable under
                applicable law, pre- and post-judgment interest, attorneys’ fees and
                allowable costs, and other applicable law; and,

             k) such other relief as this Court deems just and equitable.

                                    COUNT VIII-NEGLIGENCE

         Plaintiff Gomez & Garcia v. Ethan Haskell DraftKings’ Employee Defendant Class

         158.    Plaintiffs Gomez and Garcia adopt and restate paragraphs 1-8, 13, 15-35, 43-58,

  60, 62-68, 75, 78 and 80-87, as if fully set forth herein.




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         159.   Defendant Class Representative Ethan Haskell and the Defendant Class, at all

  times relevant, had a duty to Plaintiffs and Class Members who were participating in fantasy

  sports betting games on Defendants FanDuel and Draft Kings’ websites to act reasonably and

  with due care in disclosing that they had an unfair advantage, via insider information and other

  methods at playing the alleged games of “skill” administered Defendants FanDuel and Draft

  Kings. Defendant’s duty includes, but was not limited to the following:

                (a)     not utilizing elaborate computer programs and algorithms such as

         “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other methods to gain

         an unfair advantage over Plaintiff Class Representatives and Class Members;

                (b)     disclosing to Plaintiff and Class Members they were utilizing elaborate

         computer programs and algorithms such as “robots,” “spiders,” “scrapers,” “sniping

         software,” “scripts” and other methods to gain an unfair advantage over Plaintiff Class

         Representatives and Class Members;

                (c)     disclosing to FanDuel and DraftKings that other users were utilizing

         elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

         “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;

                (d)     warning Plaintiff and Class Members that they were utilizing elaborate

         computer programs and algorithms such as “robots,” “spiders,” “scrapers,” “sniping

         software,” “scripts” and other methods to gain an unfair advantage over Plaintiff Class

         Representatives and Class Members;

                (e)     not utilizing insider information to gain an unfair advantage over Plaintiff

         Class Representatives and Class Members;



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                 (f)     disclosing to Plaintiff and Class Members they were utilizing insider

         information to gain an unfair advantage over Plaintiff Class Representatives and Class

         Members;

                 (g)     disclosing to FanDuel and DraftKings that they were utilizing insider

         information to gain an unfair advantage over Class Representatives and Class Members

         to gain an unfair advantage over Plaintiff Class Representatives and Class Members;

                 (h)     warning Plaintiff and Class Members that they were utilizing insider

         information to gain an unfair advantage over Plaintiff Class Representatives and Class

         Members; and,

                 (i)     exercising reasonable care in wagering on fantasy sports betting games to

         prevent Plaintiff Class Representatives and Class Members other from being harmed via

         Defendant’s unfair advantage.

         160.    Defendant Class Representative Ethan Haskell and the Defendant Class at all

  times relevant, failed in their duty to Plaintiffs and Class Members who were participating in

  fantasy sports betting games on Defendants DraftKings and FanDuel’s websites to act reasonably

  and with due care in disclosing that they had an unfair advantage, via insider information and

  other methods at playing the alleged games of “skill” administered by Defendants FanDuel and

  Draft Kings. Defendant’s breaches of its duty includes, but was not limited to the following:

                 (a)     utilizing elaborate computer programs and algorithms such as “robots,”

         “spiders,” “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair

         advantage over Plaintiff Class Representatives and Class Members;

                 (b)     failing to disclose to Plaintiff and Class Members they were utilizing

         elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”



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        “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

        Class Representatives and Class Members;

               (c)    failing to disclose to FanDuel and DraftKings that other users were

        utilizing elaborate computer programs and algorithms such as “robots,” “spiders,”

        “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage

        over Plaintiff Class Representatives and Class Members;

               (d)    failing to warn Plaintiff and Class Members that they were utilizing

        elaborate computer programs and algorithms such as “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Plaintiff

        Class Representatives and Class Members;

               (e)    utilizing insider information to gain an unfair advantage over Plaintiff

        Class Representatives and Class Members;

               (f)    failing to disclose to Plaintiff and Class Members they were utilizing

        insider information to gain an unfair advantage over Plaintiff Class Representatives and

        Class Members;

               (g)    failing to disclose to FanDuel and DraftKings that they were utilizing

        insider information to gain an unfair advantage over Class Representatives and Class

        Members to gain an unfair advantage over Plaintiff Class Representatives and Class

        Members;

               (h)    failing to warn Plaintiff and Class Members that they were utilizing

        insider information to gain an unfair advantage over Plaintiff Class Representatives and

        Class Members; and,




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                (i)     failing to otherwise exercising reasonable care in wagering on fantasy

         sports betting games to prevent Plaintiff Class Representatives and Class Members other

         from being harmed via Defendant’s unfair advantage.

         161.   Defendant knew or should have known that its wrongful acts and omissions

  would cause serious injury to Plaintiff Class Representatives and Class Members.

         162.   Defendant’s conduct has directly and proximately caused economic damages to

  Plaintiff Class Representatives and Class Members.

         163.   As a direct and proximate cause of Defendant’s acts and omissions, Plaintiff and

  Class Members have incurred economic damages in the form of their user fees and wagers they

  placed on FanDuel and DraftKings’ fantasy sports betting games.

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:


                a. certification of the proposed Plaintiffs’ Class and Defendant Class;

                b. appointment of the Plaintiffs as representatives of the Plaintiffs’ Class;

                c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                   Class;

                d. appointment of Ethan Haskell as the representative of the Defendant
                   Class;

                e. compensatory damages;

                f. pre and post-judgment interest;

                g. an award of taxable costs; and,

                h. any and all such further relief as this Court deems just and proper.




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   COUNT IX-- VIOLATION OF 18 U.S.C. § 1962(C), THE RACKETEER INFLUENCED
                AND CORRUPT ORGANIZATIONS ACT (“RICO”),

    Plaintiffs Gomez and Garcia v. Defendants FanDuel, DraftKings, the Ethan Haskell FanDuel
     Employee Defendant Class and the Matthew Boccio DraftKings Employee Defendant Class,
                 Saahil Sud Defendant Class and Drew Dinkmeyer Defendant Class

            164.   Plaintiffs Gomez and Garcia adopt and restate paragraphs 1-87 as if fully set forth

  herein.

            165.   FanDuel and DraftKings are all “persons” under 18 U.S.C. § 1961(3).

            166.   The Ethan Haskell FanDuel Employee Defendant Class, Matthew Boccio

  DraftKings’ Employee Defendant Class, Saahil Sud Defendant Class and Drew Dinkmeyer

  Defendant Class are all “persons” under 18 U.S.C. § 1961(3).

            167.   All Defendants violated 18 U.S.C § 1962(c) by participating in or conducting the

  affairs of the FanDuel and DraftKings RICO Enterprise through a pattern of racketeering

  activity.

            168.   Plaintiffs and Class Members are “person[s] injured in his or her business or

  property” by reason of Defendant FanDuel, Defendant DraftKings, Saahil Sud Defendant Class,

  Drew Dinkmeyer Defendant Class, Ethan Haskell FanDuel Employee Defendant Class and the

  Matthew Boccio DraftKings’ Employee Defendant Class’ violation of RICO within the meaning

  of 18 U.S.C. § 1964(c).

                            The FanDuel and DraftKings RICO Enterprise


            169.   The following persons, and others presently unknown, have been members of and

  constitute an “association-in-fact enterprise” within the meaning of RICO, and will be referred to

  herein collectively as the FanDuel and DraftKings RICO Enterprise:

                   (a)    Defendant FanDuel, who: 1) knowingly allowed its employees to

            participate and win fantasy sports betting games on its own website and Defendant

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        DraftKings website with insider information,    the scope and nature of which they

        concealed from Plaintiffs and Class Members; and 2) knowingly allowed the Saahil Sud

        Defendant Class and Drew Dinkmeyer Defendant Class to use elaborate computer

        programs and algorithms called “robots,” “spiders,” “scrapers,” “sniping software,”

        “scripts” and other methods to gain an unfair advantage over Class Representatives and

        Class Members.

               (b)    Defendant DraftKings, who: 1) knowingly allowed its employees to

        participate and win fantasy sports betting games on its own website and Defendant

        FanDuel’s website with insider information,     the scope and nature of which they

        concealed from Plaintiffs and Class Members; and 2) knowingly allowed the Saahil Sud

        Defendant Class and Drew Dinkmeyer Defendant Class to use elaborate computer

        programs and algorithms called “robots,” “spiders,” “scrapers,” “sniping software,”

        “scripts” and other methods to gain an unfair advantage over Class Representatives and

        Class Members, the scope and nature of which they concealed from Plaintiffs and Class

        Members.

               (c)    The Ethan Haskell FanDuel Employee Defendant Class, who: 1)

        knowingly participated and won fantasy sports betting games on their employer and

        Defendant DraftKings’ website with insider information, the scope and nature of which

        they concealed from Plaintiffs and Class Members; 2) knowingly participated and used

        elaborate computer programs and algorithms called “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Class

        Representatives and Class Members, the scope and nature of which they concealed from

        Plaintiffs and Class Members; 3) knowingly allowed the Saahil Sud Defendant Class and



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        the Drew Dinkmeyer Defendant Class to use elaborate computer programs and

        algorithms called “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

        methods to gain an unfair advantage over Class Representatives and Class Members, the

        scope and nature of which they concealed from Plaintiffs and Class Members.

               (d)     The Matthew Boccio DraftKings Employee Defendant Class, who: 1)

        knowingly participated and won fantasy sports betting games on their employer and

        Defendant FanDuel’s website with insider information, the scope and nature of which

        they concealed from Plaintiffs and Class Members; 2) knowingly participated and used

        elaborate computer programs and algorithms called “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Class

        Representatives and Class Members, the scope and nature of which they concealed from

        Plaintiffs and Class Members; 3) knowingly allowed the Saahil Sud Defendant Class and

        the Drew Dinkmeyer Defendant Class to use elaborate computer programs and

        algorithms called “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

        methods to gain an unfair advantage over Class Representatives and Class Members, the

        scope and nature of which they concealed from Plaintiffs and Class Members.

               (e)     The Saahil Sud Defendant Class, who: knowingly participated and used

        elaborate computer programs and algorithms called “robots,” “spiders,” “scrapers,”

        “sniping software,” “scripts” and other methods to gain an unfair advantage over Class

        Representatives and Class Members, the scope and nature of which they concealed from

        Plaintiffs and Class Members.

               (f)     The Drew Dinkmeyer Defendant Class, who: knowingly participated and

        used elaborate computer programs and algorithms called “robots,” “spiders,” “scrapers,”



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         “sniping software,” “scripts” and other methods to gain an unfair advantage over Class

         Representatives and Class Members, the scope and nature of which they concealed from

         Plaintiffs and Class Members.

         170.    The FanDuel and DraftKings RICO Enterprise, which engaged in, and whose

  activities affected interstate and foreign commerce, is an association-in-fact of individuals and

  corporate entities within the meaning of 18 U.S.C. § 1961(4) and consists of “persons”

  associated together for a common purpose. The FanDuel and DraftKings RICO Enterprise had

  an ongoing organization with an ascertainable structure, and functioned as a continuing unit with

  separate roles and responsibilities.

         171.    While Defendants FanDuel and DraftKings participated in the conduct of the

  FanDuel and DraftKings RICO Enterprise, they had an existence separate and distinct from the

  FanDuel and DraftKings RICO Enterprise.          Further, the FanDuel and DraftKings RICO

  Enterprise was separate and distinct from the pattern of racketeering in which the FanDuel and

  DraftKings Defendants have engaged.

         172.    At all relevant times, Defendants FanDuel and DraftKings operated, controlled or

  managed the Defendants FanDuel and DraftKings, through a variety of actions. The FanDuel

  and DraftKings Defendants’ participation in the FanDuel and DraftKings RICO Enterprise was

  necessary for the successful operation of its scheme to defraud because the FanDuel and

  DraftKings controlled and monitored all aspects of fantasy sports betting on their respective

  websites and concealed the nature and scope of insider information that was being used and the

  use of “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other methods to gain an

  unfair advantage over Class Representatives and Class Members and profited from such

  concealment.



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         173.    The members of the FanDuel and DraftKings RICO Enterprise all served a

  common purpose: to make as much money as possible on the respective websites fantasy sports

  betting games and maximize the revenue and profitability of the Defendants FanDuel and

  DraftKings and each FanDuel and DraftKings RICO Enterprise member. The members of the

  FanDuel and DraftKings RICO Enterprise shared the bounty generated by the enterprise, i.e., by

  sharing the benefit derived from the winning bets generated by the scheme to defraud. Each

  member of the FanDuel and DraftKings RICO Enterprise benefited from the common purpose:

  to maximize the amounts they could win and did win on fantasy sports betting on the respective

  websites and won more winnings from fantasy sports games to the detriment of Plaintiffs and

  Class Members than they would have otherwise had the scope and nature of the insider

  information and use of “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

  methods to gain an unfair advantage over Class Representatives and Class Members not been

  concealed.


                                 Pattern of Racketeering Activity


         174.    The FanDuel and DraftKings Defendants conducted and participated in the

  conduct of the affairs of the FanDuel and DraftKings RICO Enterprise through a pattern of

  racketeering activity that has lasted for several years beginning no later than February 2012 and

  continuing to this day, and that consisted of numerous and repeated violations of the federal mail

  and wire fraud statutes, which prohibit the use of any interstate or foreign mail or wire facility

  for the purpose of executing a scheme to defraud, in violation of 18 U.S.C. §§ 1341 and 1343.

         175.    For the FanDuel and DraftKings Defendants, the purpose of the scheme to

  defraud was to: 1) conceal the scope and nature of the insider information being used to generate

  greater winnings to be invested back into the FanDuel and DraftKings Defendants and to drive

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  up the stakes of each game to attract more users and therefore more user fees and generate

  revenue and profits; and 2) conceal the scope and nature of their allowing “robots,” “spiders,”

  “scrapers,” “sniping software,” “scripts” and other methods to have more entries by users to

  drive up the stakes of each game, to attract more users and therefore more user fees and generate

  revenue and profits, and to ensure that Apex predator bettors and Shark Predator bettors

  continued to play.

           176.    By concealing the scope and nature of the insider information the FanDuel and

  DraftKings Defendants also maintained and boosted consumer confidence in their respective

  brands and fantasy sports betting, all of which furthered the scheme to defraud and helped the

  FanDuel and DraftKings Defendants generate more users to play their fantasy sports betting

  games.

           177.    As detailed in this Complaint, the FanDuel and DraftKings Defendants were well

  aware of the use of insider information by their employees, but intentionally subjected Plaintiffs

  and Class Members to those risks or consciously disregarded those risks in order to maximize

  their profits.

           178.    As detailed in this Complaint, the FanDuel and DraftKings Defendants were well

  aware of the use of use of “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

  methods insider information by their employees, but intentionally subjected Plaintiffs and Class

  Members to those risks or consciously disregarded those risks in order to maximize their profits.

           179.    To carry out, or attempt to carry out the scheme to defraud, the FanDuel and

  DraftKings Defendants have conducted or participated in the conduct of the affairs of the

  FanDuel and DraftKings RICO Enterprise through the following pattern of racketeering activity




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  that employed the use of the mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail

  fraud) and § 1343 (wire fraud):

                 (a)    The FanDuel and DraftKings Defendants devised and furthered the

         scheme to defraud by use of the mail, telephone, and internet, and transmitted, or caused

         to be transmitted, by means of mail and wire communication travelling in interstate or

         foreign commerce, writing(s) and/or signal(s), including their respective websites,

         statements to the press, and communications with other members of the FanDuel and

         DraftKings RICO Enterprise, as well as advertisements and other communications to the

         Plaintiffs and Class Members; and

                 (b)    The FanDuel and DraftKings Defendants utilized the interstate and

         international mail and wires for the purpose of obtaining money or property by means of

         the omissions, false pretense, and misrepresentations described herein.

         180.    The FanDuel and DraftKings Defendants’ pattern of racketeering activity in

  violation of the mail and wire fraud statutes included but was not limited to the following:

                 (a)    Fraudulently concealing the use of insider information by their employees

         and the use of “robots,” “spiders,” “scrapers,” “sniping software,” “scripts” and other

         unfair methods by their employees and Apex predator and Shark Predator bettors to

         transmit, or caused to be transmit (which hereinafter also means that the FanDuel and

         DraftKings Defendants acted with knowledge that the use of the interstate mails and

         wires would follow in the ordinary course of business, or such use was reasonably

         foreseeable), by means of mail and wire communication, and the internet, travelling in

         interstate or foreign commerce, between their respective offices in New York and Boston,




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         communications concealing the nature of their fraudulent scheme on their betting

         websites on a nationwide basis;

         181.   The DraftKings and FanDuel Defendants’ conduct in furtherance of this scheme

  was intentional. Plaintiffs and Class members were directly harmed as a result of the DraftKings

  and FanDuel Defendants’ intentional conduct.        Plaintiffs and Class members, and federal

  regulators, among others, relied on the DraftKings and FanDuel Defendants’ material

  misrepresentations and omissions.

         182.   As described throughout this Complaint, the DraftKings and FanDuel Defendants

  engaged in a pattern of related and continuous predicate acts since at least March 2012. The

  predicate acts constituted a variety of unlawful activities, each conducted with the common

  purpose of defrauding Plaintiffs and other Class members and obtaining significant monies and

  revenues from them while providing a fraudulent betting website rampant with insider

  information and unfair advantages to DraftKings and FanDuel Defendants’ employees and Apex

  predators and Sharks. The predicate acts also had the same or similar results, participants,

  victims, and methods of commission. The predicate acts were related and not isolated events.

         183.   The predicate acts all had the purpose of generating significant revenue and

  profits for the DraftKings and FanDuel Defendants at the expense of Plaintiffs and Class

  members. The predicate acts were committed or caused to be committed by the DraftKings and

  FanDuel Defendants through their participation in the DraftKings and FanDuel Defendants

  RICO Enterprise and in furtherance of its fraudulent scheme, and were interrelated in that they

  involved obtaining Class Representatives’ and Class members’ entry fees.

         184.   By reason of and as a result of the conduct of the DraftKings and FanDuel

  Defendants, and in particular, its pattern of racketeering activity, Plaintiffs and Class members



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  have been injured in their business and/or property in multiple ways, including but not limited to

  the loss of their user fees and wagers on fantasy sports.

         185.    The DraftKings and FanDuel Defendants’ violations of 18 U.S.C. § 1962(c) have

  directly and proximately caused injuries and damages to Plaintiffs and Class Members, and

  Plaintiffs and Class Members are entitled to bring this action for three times their actual

  damages, as well as injunctive/equitable relief and costs and reasonable attorneys’ fees pursuant

  to 18 U.S.C. § 1964(c).

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:


                 a. certification of the proposed Plaintiffs’ Class and Defendant Class;

                 b. appointment of the Plaintiffs as representatives of the Plaintiffs’ Class;

                 c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                    Class;

                 d. appointment of Ethan Haskell and Matthew Boccio as the
                    representatives for their respective Defendant Classes;

                 e. appointment of Mr. Sud and Mr. Dinkmeyer as the representatives for
                    their respective Defendant Classes;

                 f. compensatory treble damages;

                 g. pre and post-judgment interest;

                 h. an award of taxable costs; and,

                 i. any and all such further relief as this Court deems just and proper.




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                                 COUNT X—CIVIL CONSPIRACY

    Plaintiffs Gomez and Garcia v. Defendants FanDuel, DraftKings, the Ethan Haskell FanDuel
     Employee Defendant Class and the Matthew Boccio DraftKings Employee Defendant Class,
                 Saahil Sud Defendant Class and Drew Dinkmeyer Defendant Class

            186.   Plaintiffs Gomez and Garcia adopt and restate paragraphs 1-87 as if fully set forth

  herein.

            187.   An agreement between two or more parties, Defendants FanDuel, DraftKings,

  Ethan Haskell FanDuel Employee Defendant Class, Matthew Boccio DraftKings Employee

  Defendant Class, the Saahil Sud Defendant Class, and the Drew Dinkmeyer Defendant Class

  under the control of Defendants FanDuel and DraftKings and with the assistance and agreement

  of   the Ethan Haskell FanDuel Employee Defendant Class, Matthew Boccio DraftKings

  Employee Defendant Class, the Saahil Sud Defendant Class, and the Drew Dinkmeyer

  Defendant Class existed whereby the parties agreed to perform an unlawful act, to wit:

  defrauding the Plaintiffs and Class Members in this matter regarding the use of insider

  information and elaborate computer programs and algorithms called “robots,” “spiders,”

  “scrapers,” “sniping software,” “scripts” and other methods to gain an unfair advantage over

  Class Representatives and Class Members as set forth herein.

            188.   Defendants FanDuel, DraftKings, Ethan Haskell FanDuel Employee Defendant

  Class, Matthew Boccio DraftKings Employee Defendant Class, the Saahil Sud Defendant Class

  and the Drew Dinkmeyer Defendant Class overtly acted in pursuance of the conspiracy, as set

  forth herein, and did in fact defraud the Plaintiffs and Class Members in this matter via their acts

  and omissions, as set forth herein.

            189.   As a direct and proximate cause of Defendants FanDuel, DraftKings, Ethan

  Haskell FanDuel Employee Defendant Class, Matthew Boccio DraftKings Employee Defendant

  Class, the Saahil Sud Defendant Class, and the Drew Dinkmeyer Defendant Class acts and

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  omissions, Plaintiffs and Class Members have incurred economic damages and are entitled to

  recover economic damages.

          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

  hereby demand:


                  a. certification of the proposed Plaintiffs’ Class and Defendant Classes;

                  b. appointment of the Plaintiffs as representatives of the Plaintiffs’ Class;

                  c. appointment of the undersigned counsel as counsel for the Plaintiffs’
                     Class;

                  d. appointment of Ethan Haskell and Matthew Boccio as the
                     representatives for their respective Defendant Classes;

                  e. appointment of Mr. Sud and Mr. Dinkmeyer as the representatives for
                     their respective Defendant Classes;

                  f. compensatory damages;

                  g. pre and post-judgment interest;

                  h. an award of taxable costs; and,

                  i. any and all such further relief as this Court deems just and proper.

     COUNT XI--VIOLATION OF THE FLORIDA DECEPTIVEAND UNFAIR TRADE
    PRACTICES ACT ON BEHALF OF FLORIDA SUBCLASS AGAINST DEFENDANT
                                FANDUEL

          190.    Plaintiff Gomez adopts and restate paragraphs 1, 3-5, 9-59, 61, and 63-67, as if

  fully set forth herein.

          191.    This is an action for relief under section 501.201, et.seq., Florida Statutes (The

  Florida Deceptive and Unfair Trade Practices Act).

          192.    Section 501.203(7), Florida Statutes defines "Consumer" as "an individual; child,

  by and through its parent or legal guardian; firm; association; joint venture; partnership; estate;



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  trust;   business   trust;    syndicate;   fiduciary;     corporation;      or   any   other    group    or

  combination." Plaintiff is a "Consumer" within the meaning of §501.203(7), Florida Statutes.

           193.   Section 501.203(8), Florida Statutes defines "Trade or Commerce" as:

                  [T]he advertising, soliciting, providing, offering, or distributing,
                  whether by sale, rental, or otherwise, of any good or service, or any
                  property, whether tangible or intangible, or any other article,
                  commodity, or thing of value, wherever situated. "Trade or
                  Commerce" shall include the conduct of any trade or commerce,
                  however denominated, including any nonprofit or not-for-profit
                  person or activity.

           194.   The advertising, soliciting, providing, offering of the fantasy sports wagering

  service by Defendant to Plaintiff is "Trade or Commerce" within the meaning of section

  501.203(8), Florida Statutes.

           195.   Section      501.204(1)    provides     that:   "[u]nfair    methods    of     competition,

  unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any

  trade or commerce are hereby declared unlawful." The Defendant’s acts and omissions as well

  as its failure to use reasonable care in this matter as alleged in this Complaint equals

  unconscionable acts or practices, as well as deceptive and unfair acts or practices in the conduct

  of Defendant’s trade or commerce pursuant to section 501.204, Florida Statutes.

           196.   The unconscionable, illegal, unfair and deceptive acts and practices of Defendant

  violate the provisions of Florida's Deceptive and Unfair Trade Practices Act. Plaintiff has

  suffered actual damage for which she is entitled to relief pursuant to section 501.211(2), Florida

  Statutes.

           197.   As a result of Defendant’s conduct in this matter, Plaintiff Class Representative

  was required to retain, and will be required to pay, for the services of undersigned counsel and

  their firms.



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          198.    Plaintiff is entitled to recover reasonable attorneys’ fees pursuant to section

  501.2105, Florida Statutes upon prevailing in this matter.

          199.    As a direct and proximate cause of Defendant’s acts and omissions, Plaintiff has

  incurred economic damages and is entitled to recover monetary damages.

          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

  hereby demands:


                  a. certification of the proposed Plaintiff’s class;

                  b. appointment of the Plaintiff Gomez as representatives of the Plaintiff’s
                     Class;

                  c. appointment of the undersigned counsel as counsel for the Plaintiff’s
                     Class;

                  d. actual damages;

                  e. pre and post-judgment interest;

                  f. an award of taxable costs; and,

                  g. any and all such further relief as this Court deems just and proper.

     COUNT XII--VIOLATION OF THE FLORIDA DECEPTIVEAND UNFAIR TRADE
    PRACTICES ACT ON BEHALF OF FLORIDA SUBCLASS AGAINST DEFENDANT
                               DRAFTKINGS

          200.    Plaintiff Garcia adopts and restate paragraphs 1, 3-5, 9-59, 61, and 63-67, as if

  fully set forth herein.

          201.    This is an action for relief under section 501.201, et.seq., Florida Statutes (The

  Florida Deceptive and Unfair Trade Practices Act).

          202.    Section 501.203(7), Florida Statutes defines "Consumer" as "an individual; child,

  by and through its parent or legal guardian; firm; association; joint venture; partnership; estate;




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  trust;   business   trust;    syndicate;   fiduciary;     corporation;      or   any   other    group    or

  combination." Plaintiff is a "Consumer" within the meaning of §501.203(7), Florida Statutes.

           203.   Section 501.203(8), Florida Statutes defines "Trade or Commerce" as:

                  [T]he advertising, soliciting, providing, offering, or distributing,
                  whether by sale, rental, or otherwise, of any good or service, or any
                  property, whether tangible or intangible, or any other article,
                  commodity, or thing of value, wherever situated. "Trade or
                  Commerce" shall include the conduct of any trade or commerce,
                  however denominated, including any nonprofit or not-for-profit
                  person or activity.

           204.   The advertising, soliciting, providing, offering of the fantasy sports wagering

  service by Defendant to Plaintiff is "Trade or Commerce" within the meaning of section

  501.203(8), Florida Statutes.

           205.   Section      501.204(1)    provides     that:   "[u]nfair    methods    of     competition,

  unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any

  trade or commerce are hereby declared unlawful." The Defendant’s acts and omissions as well

  as its failure to use reasonable care in this matter as alleged in this Complaint equals

  unconscionable acts or practices, as well as deceptive and unfair acts or practices in the conduct

  of Defendant’s trade or commerce pursuant to section 501.204, Florida Statutes.

           206.   The unconscionable, illegal, unfair and deceptive acts and practices of Defendant

  violate the provisions of Florida's Deceptive and Unfair Trade Practices Act. Plaintiff has

  suffered actual damage for which she is entitled to relief pursuant to section 501.211(2), Florida

  Statutes.

           207.   As a result of Defendant’s conduct in this matter, Plaintiff Class Representative

  was required to retain, and will be required to pay, for the services of undersigned counsel and

  their firms.



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         208.    Plaintiff is entitled to recover reasonable attorneys’ fees pursuant to section

  501.2105, Florida Statutes upon prevailing in this matter.

         209.    As a direct and proximate cause of Defendant’s acts and omissions, Plaintiff has

  incurred economic damages and is entitled to recover monetary damages.

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

  hereby demands:


                 a. certification of the proposed Plaintiff’s class;

                 b. appointment of the Plaintiff Garcia as representatives of the Plaintiff’s
                    Class;

                 c. appointment of the undersigned counsel as counsel for the Plaintiff’s
                    Class;

                 d. actual damages;

                 e. pre and post-judgment interest;

                 f. an award of taxable costs; and,

                 g. any and all such further relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a trial by jury on all applicable claims as a matter of right.

  Dated: October 15, 2015

                                                Respectfully submitted,

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